                           Case 23-10207-TMH               Doc 702       Filed 11/20/23         Page 1 of 5




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re                                                                Chapter 11

             SL LIQUIDATION LLC, et al., 1                                        Case No. 23-10207 (TMH)

                                                Debtors.                          (Jointly Administered)



                         AMENDED 2 NOTICE OF AGENDA OF MATTERS SCHEDULED
                          FOR HEARING ON NOVEMBER 21, 2023 AT 10:00 A.M. (ET)


      This hearing will be held in Courtroom 7. Any parties attending via Zoom are required to register in
      advance. Please use the link below to register for the hearing. Please register no later than 4:00 p.m.
      (ET) on November 20, 2023.

      Registration link:

      https://protect-us.mimecast.com/s/ql9wCM89PDIk7OrZfwy1p4?domain=debuscourts.zoomgov.com


      After registering your appearance by Zoom, you will receive a confirmation email containing
      information about joining the hearing. You must use your full name when registering and logging into
      Zoom or you will not be granted access to the hearing.


         RESOLVED MATTERS

         1.          Debtors’ Motion for Entry of an Order, Pursuant to Sections 105(a) and 365(a) of the
                     Bankruptcy Code, Authorizing the Debtors to Reject That Certain Contract Between Holden
                     Temporaries, Inc. and the Debtors Effective as of the Rejection Date [D.I. 630, 10/10/23]

                     Response Deadline:       October 24, 2023 at 4:00 p.m. (ET)

                     Responses Received: None.

                     Related Documents:


         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: SL Liquidation LLC (0378); TPP Liquidation, Inc. (5202); HTPPS Liquidation, Inc.
               (2594); and HGTPPS Liquidation, Inc. (1734). The Debtors’ service address for purposes of these chapter 11
               cases is PMB #179, 1159 Second Avenue, New York, NY 10065.
         2
               Amended items are bolded.


30818429.2
                    Case 23-10207-TMH         Doc 702     Filed 11/20/23     Page 2 of 5




              A.     Certificate of No Objection [D.I. 663, 10/25/23]

              B.     Order, Pursuant to Sections 105(a) and 365(a) of the Bankruptcy Code, Authorizing
                     the Debtors to Reject That Certain Contract Between Holden Temporaries, Inc. and the
                     Debtors Effective as of the Rejection Date [D.I. 664, 10/26/23]

              Status: The Order has been entered. No hearing is necessary.

         2.   Debtors’ Motion for Entry of an Order (I) Amending Case Caption to Reflect Change of
              Debtors’ Names and Address, and (II) Granting Related Relief [D.I. 670, 10/31/23]

              Response Deadline:    November 14, 2023 at 4:00 p.m. (ET)

              Responses Received: None.

              Related Documents:

              A.     Certificate of No Objection [D.I. 690, 11/15/23]

              B.     Order (I) Amending Case Caption to Reflect Debtors’ Change of Name and
                     Address, and (II) Granting Related Relief [D.I. 694, 11/16/23]

              Status: The Order has been entered. No hearing is necessary.

         3.   Debtors’ Third Motion for Entry of an Order, Pursuant to Bankruptcy Rules 9006 and 9027,
              Extending the Period Within Which the Debtors May Remove Actions Pursuant to 28 U.S.C.
              § 1452 [D.I. 675, 11/2/23]

              Response Deadline:    November 14, 2023 at 4:00 p.m. (ET)

              Responses Received: None.

              Related Documents:

              A.     Certificate of No Objection [D.I. 691, 11/15/23]

              B.     Order, Pursuant to Bankruptcy Rules 9006 and 9027, Extending the Period Within
                     Which the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [D.I. 696,
                     11/16/23]

              Status: The Order has been entered. No hearing is necessary.

         4.   Debtors’ Motion for Entry of an Order, Pursuant to Sections 105(a) and 365(a) of the
              Bankruptcy Code, Authorizing the Debtors to Reject That Certain Contract Between
              Randstad North America, Inc. and the Debtors, Effective as of the Rejection Date [D.I.
              672, 10/31/23]

              Response Deadline:    November 14, 2023



30818429.2                                            2
                    Case 23-10207-TMH         Doc 702     Filed 11/20/23     Page 3 of 5




              Responses Received: None.

              Related Documents:

              A.     Certificate of No Objection [D.I. 691, 11/15/23]

              B.     Order, Pursuant to Sections 105(a) and 365(a) of the Bankruptcy Code, Authorizing
                     the Debtors to Reject That Certain Contract Between Randstad North America, Inc.
                     and the Debtors, Effective as of the Rejection Date [D.I. 695, 11/16/23]

              Status: The Order has been entered. No hearing is necessary.

         MATTER GOING FORWARD

         5.   Combined Disclosure Statement and Plan of Liquidation Dated September 25, 2023 [D.I.
              604, 9/25/23]

              Response Deadline:   October 30, 2023 at 4:00 p.m. (ET)

              Responses Received: Informal Response from the Office of the United States Trustee

              Related Documents:

              A.     Combined Disclosure Statement and Plan of Liquidation Dated September 8, 2023
                     [D.I. 562, 9/8/23]

              B.     Notice of Filing of Blackline of Combined Disclosure Statement and Plan of
                     Liquidation Dated September 25, 2023 [D.I. 605, 9/25/23]

              C.     Order (I) Approving on an Interim Basis the Adequacy of Disclosures in the
                     Combined Disclosure Statement and Plan of Liquidation, (II) Scheduling the
                     Confirmation Hearing and Deadline for Filing Objections, (III) Establishing
                     Procedures for Solicitation and Tabulation of Votes to Accept or Reject the
                     Combined Plan and Disclosure Statement, and Approving the Form of Ballot and
                     Solicitation Package, and (IV) Approving the Notice Provisions [D.I. 614, 9/26/23]

              D.     Notice of Filing of Plan Supplement for Combined Disclosure Statement and Plan
                     of Liquidation Dated September 25, 2023 [D.I. 649, 10/20/23]

              E.     Certification of Counsel Regarding Order Granting Motion of Official Committee
                     of Unsecured Creditors for an Order (I) Approving on an Interim Basis the
                     Adequacy of Disclosures in the Combined Disclosure Statement and Plan of
                     Liquidation, (II) Scheduling the Confirmation Hearing and Deadline for Filing
                     Objections, (III) Establishing Procedures for Solicitation and Tabulation of Votes
                     to Accept or Reject the Combined Plan and Disclosure Statement, and Approving
                     the Form of Ballot and Solicitation Package, and (IV) Approving the Notice
                     Provisions [D.I. 673, 11/01/23]




30818429.2                                            3
                  Case 23-10207-TMH        Doc 702     Filed 11/20/23    Page 4 of 5




             F.    Declaration of Andres A. Estrada with Respect to the Tabulation of Votes on the
                   Combined Disclosure Statement and Plan of Liquidation dated September 25, 2023
                   [D.I. 674, 11/1/23]

             G.    Order Extending Deadline to File Confirmation Brief and Supporting Evidence and
                   Respond to Objections to the Plan [D.I. 676, 11/2/23]

             H.    Notice of Filing of Proposed Confirmation Order [D.I. 688, 11/14/23]

             I.    Declaration of Conor P. Tully in Support of Confirmation of the Combined
                   Disclosure Statement and Plan of Liquidation Dated September 25, 2023 [D.I. 689,
                   11/15/23]

             J.    Notice of Filing of Revised Proposed Confirmation Order [D.I. 701, 11/20/23]

             Status: The informal response from the Office of the United States Trustee has been
             resolved. This matter is going forward on an uncontested basis.

                                           [Signature page follows]




30818429.2                                         4
                        Case 23-10207-TMH    Doc 702    Filed 11/20/23   Page 5 of 5




             Dated: November 20, 2023       YOUNG CONAWAY STARGATT
                    Wilmington, Delaware    & TAYLOR, LLP

                                            /s/ Ashley E. Jacobs
                                            Michael R. Nestor (No. 3526)
                                            Andrew L. Magaziner (No. 5426
                                            Ashley E. Jacobs (No. 5635)
                                            1000 North King Street
                                            Rodney Square
                                            Wilmington, Delaware 19801-6108
                                            Telephone: (302) 571-6600
                                            Facsimile: (302) 571-1253
                                            Email: mnestor@ycst.com
                                                     amagaziner@ycst.com
                                                     ajacobs@ycst.com

                                            -and-

                                            Kathryn A. Coleman
                                            Christopher Gartman
                                            Jeffrey S. Margolin
                                            HUGHES HUBBARD & REED LLP
                                            One Battery Park Plaza
                                            New York, NY 10004-1482
                                            Telephone: (212) 837-6000
                                            Facsimile: (212) 422-4726
                                            Email: katie.coleman@hugheshubbard.com
                                                    chris.gartman@hugheshubbard.com
                                                    jeff.margolin@hugheshubbard.com

                                            Counsel for the Debtors




30818429.2                                          5
